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Sheet 1
UNITED STATES DISTRICT COURT
EASTERN District of PENNSYLVANIA
=
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. ,
MAURICE HILL E | CRIMINAL NO. -s
L E 5 DPAE2:07CR000597-001 AND

DPAE2:08CRO000233-001

APR 2 8 2010 USM Number:  62664-066

 

THE DEFENDANT:
X pleaded guilty to count(s) 1 OF 07-CR-597 AND COUNT 1 OF 08-CR-233

0 pleaded nolo contendere to count(s)
which was accepted by the court.

 

C1 was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Count
18:922 (g)(1) POSSESSION OF A FIREARM BY A CONVICTED FELON 5/18/2007 1 (07-597)
18:922 (g)(1) POSSESSION OF A FIREARM BY A CONVICTED FELON 9/1/2007 1 (08-233)

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
1 The defendant has been found not guilty on count(s)

 

UL Count(s) O is 1 are dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

 

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J (
pet April 27, 2010

PAUL S. DIAMOND, U. S. DISTRICT COURT JUDGE
Name and Title of Judge

 

Date
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Sheet 2 — Im
Judgment — Page _2 of _6
DEFENDANT: MAURICE HILL
CASE NUMBER: 07-597 & 08-233

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

FIFTY FIVE (55) MONTHS. This term consists of 55 months on Count 1 of 07-cr-597 and 55 months on Count 1 of 08-cr-233 to be

served concurrently.

The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant serve his sentence as close to Philadelphia as possible.

X The defendant is remanded to the custody of the United States Marshal.

O ‘The defendant shall surrender to the United States Marshal for this district:

Oat O am. O p.m. on

 

1 sas notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

before 2 p.m. on

 

{] as notified by the United States Marshal.

O as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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DEFENDANT: MAURICE HILL
CASE NUMBER: 07-597 & 08-233
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

THREE (3) YEARS. This term consists of 3 years on Count 1 of 07-cr-597 and 3 years on Count | of 08-cr-233 to be served concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

O =‘ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

‘The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

C1 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered,

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) _ the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) _ as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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DEFENDANT: MAURICE HILL

CASE NUMBER: 07-597 & 08-233

ADDITIONAL SUPERVISED RELEASE TERMS

The defendant shall refrain from the use of drugs and shall submit to urinalysis or other forms of testing to
ensure compliance. It is further ordered that the defendant shall submit to evaluation and treatment as
approved by the U. S. Probation Office. The defendant shall abide by the rules of any program and shall
remain in treatment until satisfactorily discharged with the approval of the Court.

The defendant shall provide the U. S. Probation Office with full disclosure of his financial records to
include yearly income tax returns upon request. The defendant shall cooperate with the probation officer
in the investigation of his financial dealings and shall provide truthful monthly statements of his income.

The defendant is prohibited from incurring any new credit charges or opening additional lines of credit
without the approval of the probation officer, unless the defendant is in compliance with a payment
schedule for any fine or restitution obligation or otherwise has the express approval of the Court. The
defendant shall not encumber or liquidate interest in any assets unless it is in direct service of the Fine or
Restitution obligation or otherwise has the express approval of the Court.

The defendant shall participate in a vocational training program as recommended by the Probation Office.
The defendant shall remain in the program until satisfactorily discharged with the approval of the Court.

Payment of the Fine and Special Assessment is a condition of Supervised Release and the defendant shall
satisfy the amount due in monthly installments of not less the $50.00.
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Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: MAURICE HILL

CASE NUMBER: 07-597 & 08-233
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 200.00 $ 500.00 $
Ol The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0 $ 0

 

{1 Restitution amount ordered pursuant to plea agreement $

{1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X — The court determined that the defendant does not have the ability to pay interest and it is ordered that:
X the interest requirement is waived forthe X fine (restitution.

(0 the interest requirement forthe OO fine 0 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

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DEFENDANT: MAURICE HILL
CASE NUMBER: 07-597 & 08-233

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A  X_ Lump sum payment of $ _ 700.00 due immediately, balance due
Ol not later than , or
X in accordance Cl Cc, U D, O E,or X F below; or
B  (O Payment to begin immediately (may be combined with OC, O D,or UO F below); or
C (1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D OC Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (© Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  X_ Special instructions regarding the payment of criminal monetary penalties:

The defendant shall make quarterly payments of $25.00 from any wages he may earn in prison in accordance
with the Bureau of Prisons Inmate Financial Responsibility Program. Any portion of the fine or assessment
that is not paid in full at the time of release from imprisonment shall become a condition of Supervised
Release, with payments made at a rate of not less than $50.00 per month to commence 30 days after release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties

O ‘Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:
